      Case 2:21-cv-02233-WBS-AC Document 336 Filed 05/24/23 Page 1 of 2


 1 J. Noah Hagey, Esq. (SBN: 262331)
       hagey@braunhagey.com
 2 Matthew Borden, Esq. (SBN: 214323)
       borden@braunhagey.com
 3 Andrew Levine, Esq. (SBN: 278246)
       levine@braunhagey.com
 4 Ronald J. Fisher, Esq. (SBN: 298660)
       fisher@braunhagey.com
 5 BRAUNHAGEY & BORDEN LLP
   351 California Street, 10th Floor
 6 San Francisco, CA 94104
   Telephone: (415) 599-0210
 7 Facsimile: (415) 276-1808

 8 Douglas S. Curran, Esq. (pro hac vice)
     curran@braunhagey.com
 9 Garrett M. Biedermann, Esq. (pro hac vice)
     biedermann@braunhagey.com
10 BRAUNHAGEY & BORDEN LLP
   118 W 22nd Street, 12th Floor
11 New York, NY 10011
   Telephone: (646) 829-9403
12 Facsimile: (646) 403-4089

13 Attorneys for Counterclaim-Plaintiff
   and Defendant Milk Moovement, Inc. and Defendant Milk Moovement, LLC
14
                              UNITED STATES DISTRICT COURT
15                           EASTERN DISTRICT OF CALIFORNIA
16   DAIRY, LLC, a Delaware Limited Liability    Case No.: 2:21-CV-02233-WBS-AC
     Company,
17             Plaintiff,                        [PROPOSED] ORDER GRANTING
                                                 DEFENDANT AND COUNTERCLAIM-
18         v.                                    PLAINTIFF MILK MOOVEMENT, INC.’S
                                                 AND DEFENDANT MILK
19   MILK MOOVEMENT, INC., a foreign             MOOVEMENT, LLC’S REQUEST TO
     Corporation, and MILK MOOVEMENT,            SEAL DOCUMENTS
20   LLC, a Delaware Limited Liability
     Company,
21
                  Defendants.
22
     MILK MOOVEMENT, INC., a foreign             Date:            May 24, 2023
23   Corporation,                                Time:            11:00 a.m.
24                                               Ctrm.:           26, 8th Floor
                  Counterclaim-Plaintiff,        Judge:           Hon. Allison Claire
           v.
25
     DAIRY, LLC, a Delaware Limited Liability
26   Company,                                    Compl. Filed    December 2, 2021
27                                               Trial Date:     November 7, 2023
                  Counterclaim-Defendant.
28


                                                           Case No.: 2:21-CV-02233-WBS-AC
          [PROPOSED] ORDER GRANTING MILK MOOVEMENT’S REQUEST TO SEAL DOCUMENTS
      Case 2:21-cv-02233-WBS-AC Document 336 Filed 05/24/23 Page 2 of 2


 1                                        [PROPOSED] ORDER

 2          Having considered Defendant and Counterclaim-Plaintiff Milk Moovement, Inc. and

 3 Defendant Milk Moovement, LLC’s (collectively, “Milk Moovement”) Request to Seal

 4 Documents, and good cause appearing therefore, the Court hereby orders as follows:

 5          The Request to Seal Documents is GRANTED. The documents identified therein as

 6 SEAL.001-031 shall be sealed on a provisional basis for three (3) days. Any party seeking to

 7 maintain sealing of those documents must make a motion to do so no later than three (3) days from

 8 the date of this Order. See E.D. Cal. R. 141. If no such motion is made, Milk Moovement is further

 9 ORDERED to file on the public docket unredacted versions of the provisionally-sealed documents

10 no later than five (5) days from the date of this Order.

11

12 IT IS SO ORDERED.

13 Dated: May 23, 2023

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


                                              1              Case No.: 2:21-CV-02233-WBS-AC
            [PROPOSED] ORDER GRANTING MILK MOOVEMENT’S REQUEST TO SEAL DOCUMENTS
